 Case 16-21366          Doc 47    Filed 05/24/17    Entered 05/24/17 14:23:27         Page 1 of 4



                         UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF CONNECTICUT
                                HARTFORD DIVISION
________________________________________
IN RE: WAYNE D. ELDRIDGE                      : CHAPTER 13
                  Debtor                      :
                                              : NO.: 16-21366
                                              :
________________________________________      : MAY 24, 2017

                             FIRST AMENDED CHAPTER 13 PLAN

        1. The debtor submits all or such portion of his future income to the control of the Trustee as is

necessary for the execution of the plan. The debtor or debtor's employer shall pay to the Trustee the sum of

$ 916.20 each month, for 60 months.

        a.      Adequate Protection Payments: In the event this plan proposes to pay the balance of a loan

secured by the debtor’s personal property; then prior to the confirmation of this plan, the debtor must make

monthly adequate protection payments directly to the creditor holding the secured claim. Said payments

may be deducted from the payment to be made to the Trustee. Upon confirmation said adequate protection

payments shall cease and the entire monthly plan payment shall be paid to the Trustee for distribution

pursuant to this plan. If applicable the post-petition, pre-confirmation adequate protection payment shall be

$ N/A, each month, paid to N/A.

        b.   Domestic Support Obligation: The debtor shall pay current domestic support obligations, as

defined in 11 U.S.C. §101(14A), outside of the plan as directed by any and all applicable state and/or

federal court orders.

        2. From the payments so received, the Trustee shall make disbursements as follows:

        a. PRIORITY CLAIMS: All claims entitled to priority under 11 U.S.C. § 507 as well as 11 U.S.C.

§ 1305 shall be paid as required by 11 U.S.C. §§1322(a)(2) and (a)(4).

        Attorney’s fees of       $ N/A due to Lawrence & Jurkiewicz, LLC + 0 %
 Case 16-21366        Doc 47      Filed 05/24/17       Entered 05/24/17 14:23:27           Page 2 of 4



        Taxes of                $ N/A           due to N/A                              + 0 %.

        b. SECURED CLAIMS: Subsequent to the above payments, payments to secured creditors whose

claims are duly proved and allowed, together with interest, if applicable, as hereinafter set forth:

        Mortgage arrearage of $ 7,291.67        due to Citibank, N.A. + 0 %

        Mortgage arrearage of $ 40,822.14       due to Federal National Mortgage Association + 0 %

        Secured claim of        $ N/A           due to N/A              +7%

        The following secured claims have either been deemed unsecured pursuant to bankruptcy court

order dated N/A pursuant to 11 U.S.C. §506(a) or §522(f), or will be deemed unsecured pursuant to 11

U.S.C. §522(f) after motion, notice, hearing, and further order of the court as follows:

Lien Holder                             Total Claim             Secured Portion            Unsecured Portion

N/A                                     $ N/A                   $ N/A                   $ N/A


        The debtor(s) shall continue to pay current mortgage payments, current real estate taxes, and current

automobile loan payments outside of the plan directly to the creditors.

        c. GENERAL UNSECURED CLAIMS: Pro rata with payments to secured creditors, dividends to

general unsecured creditors whose claims are duly proved and allowed as follows:

        General unsecured claims, (including the foregoing secured claims which are being treated as

unsecured claims by virtue of 11 U.S.C. §506(a) or §522(f)), shall be paid not less than 10 %. If the debtor’s

estate is found to be solvent general unsecured claims, which are not tax claims, shall be paid 100% plus

interest per annum at the federal judgment rate existing on the date this plan is confirmed and general

unsecured claims which are tax claims, shall be paid 100% plus interest at the rate said claim would receive

pursuant to applicable non-bankruptcy law.

        No dividend shall be paid on the unsecured portion of any claim where the rights of the holder of

such claim may not be modified pursuant to the provisions of 11 U.S.C. 1322(b)(2). The total of all general

unsecured claims is $ 14,702.56, which amount includes the unsecured component of the claim of N/A .

        3. The following executory contracts of the debtor(s) are rejected: N/A.



                                                   2
 Case 16-21366        Doc 47     Filed 05/24/17        Entered 05/24/17 14:23:27        Page 3 of 4




       4. Other terms of the plan: N/A.

       5. In no event shall the amount to be distributed to each creditor under the plan be less than the

value (as of the effective date of the plan) of the property upon which such creditor had an enforceable lien,

plus the amount, if any, that would be paid such claim if the estate of the debtor were to be liquidated under

Chapter 7 of Title 11 of the United States Code.

       6.      With respect to each allowed secured claim:

       a.      The holder of such claim shall retain the lien securing such claim until the earlier of: (1)

the payment of the underlying debt determined under non-bankruptcy law; or (2) discharge under

Section 1328; and

        b.     If the case under this chapter is dismissed or converted without completion of the plan,

such lien shall also be retained by such holder to the extent recognized by applicable non-bankruptcy

law; and

        c.     The value, as of the effective date of the plan, of property to be distributed under the plan

on account of such claim is not less than the allowed amount of such claim and in no event shall the

amount to be distributed to each creditor under the plan be less than the value (as of the effective date of

the plan) of the property upon which such creditor has an enforceable lien.

       7.      Payments to the Trustee shall be made in installments conforming to the debtor's payment

periods over a period of 60 months in such amounts as may be required to provide for the payment of all

costs of administration, the payment in full of all claims entitled to priority as defined in 11 U.S.C. 507, the

present value of all allowed secured claims, and payments to unsecured creditors as hereinbefore provided.

The debtor's total plan payments to the Trustee shall be not less than $ 54,971.70.

       8.      Title to the debtor's property shall re-vest in the debtor(s) after the dismissal of the case or

the closing of the case upon the approval by the Court of the Trustee's final report and account. However no




                                                   3
 Case 16-21366          Doc 47   Filed 05/24/17       Entered 05/24/17 14:23:27        Page 4 of 4



property received by the Trustee for the purpose of distribution under the plan shall re-vest in the debtor

except to the extent that such property is in excess of the amount needed to pay all allowed claims as

provided in the plan.

        9.     The amount of the debtor's attorney’s fees already paid outside the plan is

$ 4,500.00. The balance of the debtor’s attorney’s fees in the amount of $ 0.00 shall be paid inside of the

plan.

        10.    Questions regarding this plan should be directed to the attorney for the debtor.




Dated: May 24, 2017                                    /s/ Wayne D. Eldridge_
                                                       Debtor: Wayne D. Eldridge



Dated: May 24, 2017                                    /s/ Edward P. Jurkiewicz   ______
                                                       Edward P. Jurkiewicz ct04779
                                                       Lawrence & Jurkiewicz, LLC
                                                       60 East Main Street
                                                       Avon, CT 06001
                                                       Telephone: (860) 299-6263
                                                       Fax: (860) 677-5005
                                                       edwardjurkiewicz@sbcglobal.net
                                                       Counsel for the Debtor




                                                  4
